Case 2:Ol-cV-02223-PBT Document 292 Filed 09/26/08 Page 1 of 1

|N THE UN|TED STATES DlSTR|CT COURT
FOR THE EASTERN DlSTR|CT OF PENNSYLVAN|A
CHECKPO|NT SYSTEMS, lNC. : ClVIL ACT|ON
v.

ALL-TAG SECUR|TY S.A., et al. : NO. 01-cv-2223

JUDGMENT
AND Now, this I% day of September,
2008, judgment is hereby entered in favor of A||-Tag Security SA and A||-Tag
Security Americas, Inc., and against Checkpoint Systems, |nc., in the amount of

$74,303.82.

MICHAEL E. KuN'z 2 §
cLERK oF couRT

